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November 20, 2024


Via ECF

Hon. Jessica G. L. Clarke
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

         Re:                Wheatley v. GMDSS LLC et al, No. 1:24-cv-07323 (JGLC)

Dear Judge Clarke:

       We are counsel to Defendants in the above-captioned action. In an Order entered
October 2, 2024 (ECF No. 9), the Court directed the parties to provide the Court with an
update on settlement discussions within 45 days of service of the Summons and
Complaint in the Action and by that letter to advise the Court whether the Action should
be referred to mediation or a status conference should be scheduled. We write now on
behalf of both parties to update the Court and request additional time to allow
settlement discussions to continue.

      The parties have had productive settlement discussions. The parties are
optimistic they will be able to reach a settlement in principle soon. We, therefore,
propose that we file a joint letter by no later than January 15, 2025, updating the Court



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on the status of the parties’ discussion. If the parties have not reached a settlement in
principle by that time, they will inform the Court whether they believe mediation would
be useful.

         We would be happy to discuss further at the Court’s convenience if needed.

                                                           Respectfully submitted,



                                                           /s/ Kevin M. Brown____

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